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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA LOY 19 “5.3
Norfolk Division

 

 

R.M.S. TITANIC, INC.,
successor-in-interest to Titanic
Ventures, limited partnership,

Plaintiff,
CIVIL ACTION NO. 2:93cv902

Vv.
THE WRECKED AND ABANDONED VESSEL, ITS
ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A
POINT LOCATED AT 41 43’ 32” NORTH
LATITUDE AND 49 56’ 49” WEST
LONGITUDE, BELIEVED TO BE THE R.M.S.
TITANIC, IN REM,

Defendant.

ORDER

A hearing has been set for December 17, 2018, at 2:00 P.M.,
on the outstanding Motion to Approve Asset Purchase Agreement, ECF
No. 448; and the Amended Motion to Intervene, ECF No. 519. All
parties are hereby ORDERED to submit all additional filings on
these matters on or before November 30, 2018. No further filings
will be accepted on these matters after that date.

The Clerk is DIRECTED to send a copy of this Order to counsel

for all parties.

 

 
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IT IS SO ORDERED.
isi
Rebecca Beach Smith

CB; Chief Judge

Rebecca Beach Smith
Chief Judge

November 14, 2018
